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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                     Plaintiff,                                 4:23CR3030
      vs.
                                                                  ORDER
ANDREW JOHNATHAN ASHTON,
                     Defendant.


      After a review of the record, the court finds the above-named defendant is
currently eligible for appointment of counsel pursuant to the Criminal Justice Act, 18
U.S.C. §3006A, and Amended Criminal Justice Act Plan for the District of Nebraska.

      Accordingly,

      IT IS ORDERED:
      1)     The Federal Public Defender for the District of Nebraska is appointed, and
             Korey L. Reiman shall promptly enter an appearance as counsel for the
             above named defendant.
      2)     The Clerk shall provide a copy of this order to the Federal Public Defender
             for the District of Nebraska and to the appointed attorney.


February 21, 2024.
                                                  BY THE COURT:
                                                  s/Jacqueline M. DeLuca
                                                  United States Magistrate Judge
